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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                            NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6

                                   7     PHIL MICKELSON, et al.,                         Case No. 22-cv-04486-BLF
                                   8                   Plaintiffs,
                                                                                         ORDER REFERRING PROTECTIVE
                                   9            v.                                       ORDER AND ESI PROTOCOL
                                                                                         DISPUTE TO MAGISTRATE JUDGE
                                  10     PGA TOUR, INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The parties have filed a “Joint Statement Regarding ESI Stipulation and [Proposed]

                                  14   Protective Order Disputes.” See ECF No. 104. The Court hereby REFERS the dispute to

                                  15   Magistrate Judge van Keulen.

                                  16          IT IS SO ORDERED.

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                                  18   Dated: September 28, 2022

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                                                                                     BETH LABSON FREEMAN
                                  20                                                 United States District Judge
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